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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 19-CV-14394-ROSENBERG/MAYNARD

  GEORGE FRIEDEL &
  KATHLEEN FRIEDEL,

       Plaintiffs,

  v.

  SUN COMMUNITIES, INC.,

    Defendant.
 ________________________/

                    ORDER SETTING STATUS CONFERENCE,
                 CALENDAR CALL, AND TRIAL DATE, ORDER OF
         REQUIREMENTS, AND ORDER OF REFERENCE TO MAGISTRATE JUDGE

          This Court enters the following Order to apprise the parties of the trial date in this case and to

 establish certain pretrial procedures. Many of the procedures delineated in this Order are unique to

 the undersigned and, as a result, the parties should carefully review this Order. This Order does not

 contain pretrial deadlines. This Order sets forth all pretrial procedures. A second, separate order will

 establish all pretrial deadlines. It is the Court’s intention that this Order, together with the order

 setting pretrial deadlines, will provide the parties with all of the information they need to litigate

 before this Court. This Order is organized as follows:
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 The parties shall comply with the undersigned’s rules as follows:

          1. TRIAL, CALENDAR CALL, AND STATUS CONFERENCE

          PLEASE TAKE NOTICE that the above-captioned cause is hereby set for Trial before the

 Honorable Robin L. Rosenberg, United States District Judge, at the United States District Court at

 101 South U.S. Highway 1, Fourth Floor, Courtroom 4008, Fort Pierce, Florida, during the four-

 week trial period commencing October 13, 2020 at 9:00 a.m., or as soon thereafter as the case may

 be called. PLEASE TAKE FURTHER NOTICE that Calendar Call will be held on October 7,

 2020 at 9:00 a.m. and a Status Conference will be held on September 9, 2020 at 9:30 a.m. Counsel

 (or a pro se party) may appear at the Calendar Call or Status Conference via telephone but must file

 a notice of telephonic appearance at least one (1) day prior to the Status Conference or Calendar Call.1

 The notice must include a certification that (1) counsel will not use a speakerphone to conduct the

 call and (2) counsel will conduct the call in a quiet environment without excessive background noise.

 Instructions for appearing via telephone are as follows:

          1.       Please call five (5) minutes prior to the Status Conference or Calendar Call.
          2.       The toll-free number is: 1 (877) 873-8018.
          3.       The access code is: 9890482.
          4.       The security code is: 4008.
 Unless the parties are notified otherwise, the telephonic instructions listed above will apply to all

 telephonic appearances in this case.

          2. SERVICE




 1
  The status conference and calendar call will be held at the address and location specified above. In the event the Court’s
 schedule requires the status conference or calendar call to be held at another location, the Court will notify the parties by
 order.
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        Unless service is waived, proof of service must be made to the Court by filing the server’s

 affidavit immediately upon receipt. If a Defendant waives service, notice of the same shall be

 immediately filed with the Court.

        3. REFERRAL OF CERTAIN PRETRIAL MOTIONS

        Pursuant to 28 U.S.C. § 636(b)(l)(A) and the Magistrate Judge Rules of the Local Rules of

 the Southern District of Florida, the above-captioned cause is referred to United States Magistrate

 Judge Shaniek M. Maynard for appropriate disposition of all pro hac vice motions, motions to

 substitute counsel, and pretrial motions related to discovery.

        The undersigned also refers to Judge Maynard the authority to permit an amendment to a

 pleading. If any party accepts the opportunity to amend a pleading from Judge Maynard, the

 undersigned will deem any pending motion to dismiss or strike that pleading as moot.

        4. PRETRIAL DEADLINES

        Within two weeks of (1) the date upon which any one defendant appears in this action or (2)

 the rendition of this Order, whichever is later, the parties are directed to prepare and file a joint

 scheduling report (and e-mail a proposed order) as required by Local Rule 16.1. The joint scheduling

 report shall include all information required by Local Rule 16.1(b)(2) and (b)(3). The Court

 anticipates the following pretrial deadlines barring unusual circumstances:

               Deadline to select a mediator and to schedule a time, date, and place for
                mediation within 30 days of the scheduling order.

               Deadline to amend pleadings and join parties within 60 days of the scheduling
                order.

               Completion of all discovery 120 days prior to trial.

               Deadline for dispositive pretrial motions and Daubert motions (which include
                motions to strike experts) 90 days prior to trial.

               Completion of mediation 60 days prior to trial.


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          The parties should address their joint scheduling report and their proposed pretrial deadlines

 to the Court’s anticipated deadlines outlined above. The parties are encouraged to explain their

 proposed deadlines to the extent such deadlines conflict with the Court’s anticipated deadlines

 outlined above. In the event the parties determine that the Court’s trial date should either be extended

 or shortened based upon the expedited, standard, or complex case management tracks described in

 Local Rule 16.1(a), the parties should explain the basis for so concluding, together with any affidavits

 in support of a continuance that may be necessary under Local Rule 7.6. Finally, the parties’ proposed

 order should be a Microsoft Word document utilizing the format in the Court’s sample scheduling

 order on the undersigned’s webpage at: http://www.flsd.uscourts.gov / content / judge-robin-l-

 rosenberg. In the event the parties do not file a joint scheduling report by the deadline established by

 this Order, the Court will unilaterally determine the pretrial deadlines in this case, however, the

 Court’s determination will not relieve the parties from their obligation to conduct a Rule 26(f)

 conference.

          5. EXTENSIONS OF PRETRIAL DEADLINES

          Provided that all parties are in agreement, any pretrial deadline(s) prior to the deadline for the

 filing of dispositive motions may be modified without Court order by filing a joint notice indicating

 the new pretrial deadline(s) reached by agreement. A motion need not be filed. However, if the parties

 elect to modify deadlines2 by agreement, the parties should not anticipate that the Court will modify

 other deadlines as a result of any possible prejudice to the parties. By way of example, if the parties

 extend the deadline for discovery, the parties should not anticipate that the Court will modify the

 deadline for dispositive motions. Furthermore, the parties are hereby on notice that if the parties

 extend the deadline for discovery, the Court will deem the parties to have waived any argument under



 2
  The parties’ modification of the deadline for discovery will not extend the time for any party to file a motion to compel.
 The deadline for discovery motion practice will be governed by the discovery deadline entered by the Court.
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 Rule 56(d) of the Federal Rules of Civil Procedure that a party cannot move for or defend against

 summary judgment because of the extension of the discovery deadline. Only when the parties seek

 and are unable to agree on a modification of a pretrial deadline or seek an extension of the deadline

 for dispositive motions or any deadline following the deadline for dispositive motions, should the

 parties file a motion with the Court. The parties may not utilize this procedure to extend the deadline

 to answer a pleading or to respond to a motion. If any party fails to follow the procedures in this

 order, the Court may deny the motion without prejudice.

        The parties are cautioned that the Court will not grant continuances of the dispositive motion

 deadline or trial date lightly. Any motion requesting either of these forms of relief should contain

 detailed information in support of the motion, including the amount, timing, and type of discovery

 that was undertaken in the case. The Court’s strong adherence to the dispositive deadline is for the

 parties’ benefit. Because of the amount of time necessary for a dispositive motion to ripen and

 because of the significant amount of time the Court needs in order to properly evaluate and consider

 dispositive motions, the dispositive deadline must be set several months before trial. In the event the

 dispositive deadline is extended, an order granting dispositive relief may come too late to save the

 parties from unnecessary pretrial preparation costs and expenses. Finally, in the event the Court

 declines to extend any deadline, the parties have the option of consenting to magistrate judge

 jurisdiction which affords the parties greater flexibility with pretrial deadlines and a trial date.

        6. JURY TRIALS

        In addition to filing their proposed jury instructions and verdict form with the Clerk (the date

 for filing the proposed jury instructions is set forth in the pretrial scheduling order), the parties shall

 also submit A SINGLE JOINT SET of proposed jury instructions and verdict form in Word format




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 directly to Rosenberg@flsd.uscourts.gov.3 To the extent these instructions are based upon the

 Eleventh Circuit pattern jury instructions, counsel shall indicate the appropriate Eleventh Circuit

 pattern jury instruction upon which their instruction is modeled. All other instructions shall include

 citations to relevant supporting case law.

          The parties need not agree on the proposed language of each instruction or question on the

 verdict form. Where the parties do agree on a proposed instruction or question, that instruction or

 question shall be set forth in Times New Roman 14 point typeface. Instructions and questions

 proposed only by the plaintiff(s) to which the defendant(s) object shall be italicized. Instructions and

 questions proposed only by defendant(s) to which plaintiff(s) object shall be bold-faced. Each jury

 instruction shall be typed on a separate page and, except for Eleventh Circuit pattern instructions

 clearly identified as such, must be supported by citations to authority. In preparing the requested jury

 instructions, the parties shall use as a guide the pattern jury instructions for civil cases approved by

 the Eleventh Circuit, including the directions to counsel contained therein.

          When the parties file proposed jury instructions, the parties shall also file a joint statement of

 the case. The statement of the case should be brief and should contain no argument. The purpose of

 the joint statement of the case is merely to convey enough information to a prospective juror for that

 juror to ascertain whether he or she has previous knowledge of the case.

          7. BENCH TRIALS

          An additional copy of all proposed Findings of Fact and Conclusions of Law (the date for

     filing the proposed Findings of Fact and Conclusion of Law is set forth in the pretrial scheduling

     order) shall be sent in Word format to the chambers e-mail account listed above. Proposed

     Conclusions of Law must be supported by citations to authority.


 3
   The joint set of proposed jury instructions should include both preliminary jury instructions (from the appropriate
 Eleventh Circuit pattern instructions) as well as final jury instructions. Proposed voir dire questions and verdict forms
 should be e-mailed in Word format to this e-mail address as well.
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        8. EXHIBIT AND WITNESS LISTS

        In any proceeding where evidence will be introduced, counsel shall submit to the Court a typed list of

 proposed witnesses and/or exhibits (the date for filing the proposed witnesses and/or exhibit lists is

 set forth in the pretrial scheduling order). All exhibits shall be pre-labeled in accordance with the

 proposed exhibit list, and only numerical sequences are permitted—alphabetical designations shall

 not be used. Exhibit labels must include the case number, the exhibit number, and the party offering

 the exhibit. A typewritten exhibit list setting forth the number, or letter, and description of each

 exhibit must be submitted prior to trial. Any composite exhibits should be listed separately, i.e. 1A,

 1B, 1C, etc. The parties shall submit said exhibit list on AO Form 187, which is available from the

 Clerk’s office and at http://www.uscourts.gov/services-forms/forms. At trial, the parties shall deliver

 to the Court a USB flash drive that contains digital copies of the exhibits. The parties must also

 comply with Local Rule 5.3.

        9. TRIAL PLAN, STATUS CONFERENCE, AND PRETRIAL RULINGS

        At the Status Conference, the Court will require all parties to estimate the total number of

 witnesses each party intends to call at trial and to estimate the total amount of time requested for trial.

 The Court will utilize this estimate in the event multiple cases proceed to trial during the relevant trial

 period. The parties’ estimate is not intended to be binding on the parties—it is merely a preliminary

 scheduling tool for the Court.

        As Calendar Call draws near, the Court will require a more detailed estimate of the time

 needed for trial. The parties shall file a joint trial plan no later than two (2) business days prior to

 Calendar Call. By way of example, if Calendar Call falls on a Wednesday, the joint trial plan shall

 be filed no later than the preceding Monday at 11:59 p.m. Also by way of example, if Calendar Call

 falls on a Wednesday and the preceding Monday is a federal holiday, the joint trial plan shall be filed

 no later than the preceding Friday at 11:59 p.m. The joint trial plan shall set forth the following

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 information: (1) the anticipated length of time required for each party’s opening statement; (2) the

 witnesses each party intends to call at trial, listed in the order in which these witnesses will be called;4

 (3) a brief description of each witness (e.g., the identity of the witness and the relationship of the

 witness to any parties in the case); (4) whether the witness is an expert and, if so, the area of expertise

 of the witness; (5) whether each witness will testify live, by video deposition, or by reading of

 deposition testimony; (6) the anticipated length of time required for direct examination, cross

 examination, and redirect examination of each witness; (7) the anticipated length of time required for

 each party’s closing argument; (8) any additional matters that may affect the course of trial; and (9)

 an accurate summation of the total time allocated in the trial plan.5

          The Court prefers the trial plan to be submitted using the following format:




          Prior to filing the joint trial plan, the parties shall meet and confer regarding the matters

 outlined therein. The parties shall certify in the joint trial plan that they have complied with this

 requirement.




 4
   If adjustments become necessary during trial, the Court will not require the parties to call their witnesses in the order in
 which they are listed in the joint trial plan, as long as sufficient advance notice of the adjustments is provided to the Court
 and opposing counsel. However, the Court expects very little deviation from the joint trial plan in all other respects.
 5
   The parties need not include an estimation of time for jury selection.
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        At the same time that the parties file their joint trial plan, the parties shall also file a Notice of

 Remaining Issues that Require Adjudication. This Notice shall inform the Court of areas in which a

 ruling is required including: (1) jury instructions, (2) verdict forms, (3) exhibits, (4) deposition

 designations, and (5) other evidentiary objections. The parties shall inform the Court of the general

 category or nature of the disputes and provide a brief summary of the factual and/or legal support for

 the parties’ respective positions. At Calendar Call, the Court will discuss the volume of remaining

 issues with the parties. In the event the number of remaining issues is small, the Court will endeavor

 to handle these matters at Calendar Call. In the event the number of remaining issues is moderate or

 large, the Court will endeavor to set time before trial commences for argument and rulings on as many

 of the remaining issues as possible. In the event the Court is unable to address all issues prior to trial,

 the Court may utilize the first day of trial, either before or after jury selection, to render pre-trial

 rulings. The Court’s objective in utilizing this procedure is two-fold. First, the Court seeks to utilize

 the jury’s service as efficiently as possible with minimal, if any, evidentiary objections at trial.

 Second, the Court seeks to finalize the jury instructions and verdict form early because, in the Court’s

 experience, counsel’s time during trial is best spent on the trial itself without distraction on the legal

 issues and argument that commonly arise in the finalization of jury instructions. Of course, the Court

 recognizes that the finalization of jury instructions cannot be accomplished until all of the evidence

 has been presented.




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        10. HEARINGS

        The Court will review sua sponte any motions (other than those referred to the Magistrate

 Judge) and determine which motions are appropriate for a hearing. Counsel is allowed to appear in

 person or via telephone, unless the Court instructs otherwise. In order to appear via telephone, counsel

 must file a notice of telephonic appearance, as set forth in the instructions in this Order, at least one

 (1) day prior to the hearing. The Court will endeavor to give the parties as much notice of the

 scheduled hearing as possible, but, at times, notice may be within a week of the hearing. The Court’s

 sua sponte setting of hearings on motions does not preclude the parties from requesting oral argument,

 as appropriate, on filed motions. Finally, counsel should keep in mind the need to provide courtroom

 experience to the next generation of practitioners and, as a result, the Court will particularly welcome

 any lawyer with four or fewer years of experience to argue any of the motions set for a hearing.

        11. MOTIONS FOR SUMMARY JUDGMENT AND STATEMENTS OF MATERIAL
            FACTS

        Local Rule 56.1(a) requires a motion for summary judgment (and opposition thereto) to be

 accompanied by a statement of material facts. Pursuant to Local Rule 56.1(a)(2), this statement of

 material facts must be supported by specific references to pleadings, depositions, answers to

 interrogatories, admissions, and affidavits on file with the court. In the event a respondent fails to

 controvert a movant’s supported material facts in an opposing statement of material facts, the

 movant’s material facts will be deemed admitted. Local Rule 56.1(b). In the interest of judicial

 economy, in the interest of proper and careful consideration of each party’s statement of material

 facts, and in the interest of determining matters on summary judgment on the merits, the Court hereby

 orders the parties to file any statement of material facts as follows:

        A statement of material facts shall be a separate filing from a motion for summary judgment

 or a response to a motion for summary judgment.


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         Each material fact in the statement that requires evidentiary support shall be supported by a

 specific citation. This specific citation shall reference pages (and line numbers, if necessary) of

 exhibits. When a material fact requires evidentiary support, a general citation to an exhibit,

 without a page number or pincite, is not permitted.

         Each cited exhibit must be an attachment to the statement of material facts. By way of

 example, a statement of material facts may be filed in CM/ECF6 with attachments as follows:




         All citations in the statement of material facts must cite to the attached exhibits. For example,

 a citation could be to “Exhibit A, ¶ 2” or (for a deposition) “Exhibit C, p. 12 line 15” or “Exhibit C,

 12:15”.7 Hypothetical unacceptable citations include the following: “Exhibit B” or “Smith Affidavit”.




 6
   The Court recognizes that pro se parties do not have control over how their filings appear in CM/ECF. Nonetheless, a
 pro se litigant’s paper filing must comply with the requirements of this Order.
 7
   The citations in this section are not intended to correspond directly to the example image of a filing in CM/ECF.
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 Similarly, a party should not cite to “Smith Affidavit, pgs. 223-24” and should instead cite to “Exhibit

 E, Smith Affidavit, pgs. 223-24”.

        A respondent’s statement of material facts must specifically respond to each statement in the

 movant’s statement of material facts. By way of example, if a movant’s statement of material facts

 reads as follows:

                           MOVANT’S STATEMENT OF MATERIAL FACTS

        1. Blackacre is owned by Movant. Exhibit B, ¶ 2.

        2. Blackacre is currently under contract for sale. Exhibit C, pgs. 2-4.



 A respondent’s statement of material facts must clearly respond to each of the foregoing:

                  RESPONDENT’S STATEMENT OF DISPUTED FACTS
              IN OPPOSITION TO MOVANT’S STATEMENT OF MATERIAL
             FACTS AND STATEMENT OF ADDITIONAL MATERIAL FACTS
         IN OPPOSITION TO MOVANT’S MOTION FOR SUMMARY JUDGMENT

        Paragraph 1: Undisputed

        Paragraph 2: Disputed. The contract for sale was never executed. Exhibit A, ¶ 5.



 As shown above, the first word in each response must be “disputed” or “undisputed.” If a statement

 is disputed, the evidentiary citations supporting that dispute must be limited to evidence specific to

 the dispute. Additional facts that do not directly refute the disputed fact should be included in the

 respondent’s own statement of (additional) material facts.

        In the event a party fails to comply with the requirements delineated in this section, the Court

 may strike the deficient statement of material facts and require immediate compliance, grant an

 opposing party relief, or enter any other sanction that the Court deems appropriate.

        12. MOTIONS IN LIMINE


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           Each party is limited to filing one motion in limine that contains no more than three requests

 for relief. This limitation includes Daubert challenges to expert witnesses. Any party may move for

 a modification of this limitation at least one week in advance of the deadline for filing motions in

 limine and must provide a detailed basis to support the requested relief. Motions in limine that request

 for the Court to order the opposing party to comply with the Federal Rules of Evidence are improper

 and may be denied immediately.

           13. MOTIONS TO STRIKE AFFIRMATIVE DEFENSES

           Motions to strike are generally disfavored as courts consider them “a drastic remedy to be

 resorted to only when required for the purposes of justice” that should only be granted when

 allegations “have no possible relation to the controversy.” Augustus v. Bd. of Pub. Instruction, 306

 F.2d 862, 868 (5th Cir. 1962). This Court disfavors motions to strike affirmative defenses. However,

 the Court will not permit a defendant to raise an affirmative defense that is not, in fact, an affirmative

 defense (such as the affirmative defense of “failure to state a claim”) at any stage of the litigation,

 including upon the filing of a motion for summary judgment and at trial. When counsel files such

 affirmative defenses, it reflects a lack of due diligence in the crafting of the answer and the affirmative

 defenses. The Court will construe improper affirmative defenses as denials. See Ramnarine v. CP

 RE Holdco 2009-1, LLC, No. 12-61716, 2013 WL 1788503, at *4 (S.D. Fla. Apr. 26, 2013) (“The

 proper remedy when a party mistakenly labels a denial as an affirmative defense is not to strike the

 claim but instead to treat it as a specific denial.”). Nonetheless, the Court does not prohibit any party

 from filing a motion to strike affirmative defenses. In the event a party elects to file a motion to strike

 affirmative defenses, however, the party must certify in the opening paragraph of the motion that the

 party has read and considered this section in the Court’s Order and has considered the case law cited

 herein.



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        14. DEPOSITION DESIGNATIONS AND OBJECTIONS TO EXHIBITS

        In the experience of this Court, only a small fraction of deposition designations are utilized at

 trial. Juxtaposed to the small amount of deposition designation testimony utilized at trial is the large

 amount of time and expense that deposition designations entail: the proponent must study a deposition

 to designate relevant testimony, the opposing party must prepare objections to designated testimony,

 the proponent must thereafter respond to the opposing party’s objections, the parties must confer on

 all objections, the Court must hear argument on unresolved, contested objections, and the Court must,

 in many cases, review extensive portions of deposition transcripts. The Court’s review of deposition

 transcripts is complicated by the fact that the Court is often without the benefit—unlike the parties—

 of the context of the entire scope of evidence that will be introduced at trial. The foregoing impacts

 the amount of time the parties have to prepare for the trial and the amount of time that jurors may

 spend hearing evidence on a given trial day. In summary, the foregoing affects the Court’s and the

 parties’ obligations under Rule 1 of the Federal Rules of Civil Procedure. Rule 1 requires that the

 Federal Rules be “construed, administered, and employed by the court and the parties to secure the

 just, speedy, and inexpensive determination of every action and proceeding.” In accordance with its

 obligations under Rule 1, the Court orders the following.

        First, the parties are ordered to provide the Court with a deposition designation notebook.

 This notebook must be delivered to Chambers on the same day that the parties’ jury instructions or

 proposed findings and conclusions are due. Second, the notebook (or notebooks) must contain the

 full deposition transcript for each designated witness. Third, the designated (or counter-designated)

 testimony for each witness must be highlighted and easy to locate and identify. Fourth, objections to

 the designated testimony must be supplemented with an appendix that contains detailed legal

 argument explaining the objections, together with a response from the opposing party. Fifth and



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 finally, an objection to designated testimony may only be raised after a full, reasonable conferral

 between the parties on the issue in dispute as more fully set forth below.

            Deposition designation objections must be accompanied by a certification, by the party

 objecting, that: (i) the parties have conferred on the objection, (ii) the objection is raised in good faith,

 (iii) the objection raises an issue that the parties, working together as professionals, cannot resolve

 without court intervention, and (iv) the expenditure of judicial labor is the only avenue by which the

 dispute may be resolved. The Court will carefully consider all of the objections brought to its

 attention. In the event the Court concludes that a designating party or counsel, or an objecting party

 or counsel, has failed “to secure the just, speedy, and inexpensive determination of every action and

 proceeding,” the Court may consider sanctions, as appropriate. Similarly, if the Court concludes that

 objections to designations must be ruled upon contemporaneously with the reading of designated

 testimony8 at trial because of a party or counsel’s failure to comply with this Order, the Court may

 consider sanctions, as appropriate.

            Finally, the requirements in the preceding paragraph apply to the parties’ objections to

 exhibits. The parties are expected to fully and reasonably confer on every objection to an exhibit. In

 the event the Court determines that objections to exhibits are objections that could have been resolved

 through a full, reasonable, and professional conferral, the Court may consider sanctions, as

 appropriate.

            15. PRETRIAL STIPULATION

            The Joint Pretrial Stipulation shall conform to S.D. Fla. L.R. 16.1(e). The Court will not

 accept unilateral pretrial stipulations, and will strike sua sponte any such submissions. Should any of

 the parties fail to cooperate in preparing the Joint Pretrial Stipulation, all parties shall file (by the date

 the pretrial stipulation was due) a certification with the Court stating the circumstances. Upon receipt


 8
     Such a ruling may mean that a transcript of a video deposition must be read in lieu of presentation of the video recording.
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 of such certifications, the Court may issue an order requiring the non-cooperating party or parties to

 show cause why such party or parties, or their respective attorneys, should not be sanctioned for the

 failure to comply with the Court’s order. The pretrial disclosures and objections required under Fed.

 R. Civ. P. 26(a)(3) should be served, but not filed with the Clerk’s Office, as the same information is

 required to be attached to the parties’ Joint Pretrial Stipulation. The filing of a motion to continue

 trial shall not stay the requirement for the filing of a Pretrial Stipulation.

         16. COMPUTERS AND OTHER EQUIPMENT

         Counsel desiring to utilize laptop computers or other electronic equipment in the courtroom

 shall file a motion and submit a proposed order granting such use one week prior to the

 commencement of trial. The motion and proposed order should describe with specificity (1) the

 equipment, (2) the make and model of the equipment, and (3) the identity of the person who will bring

 the proposed equipment. A sample order permitting electronic equipment into the courtroom is

 available for viewing on the Court’s website at: http://www.flsd.uscourts.gov / content / judge-robin-

 l-rosenberg. Counsel shall contact the courtroom deputy at least one week prior to trial to discuss any

 special equipment (video monitor, etc.) that may require special arrangements.

         17. NON-COMPLIANCE WITH THIS ORDER

         Intentional or repeated non-compliance with any provision of this Order may subject the non-

 complying party or counsel to appropriate sanctions. It is the duty of all counsel to enforce the

 timetable set forth herein in order to ensure an expeditious resolution of this cause.

         18. SETTLEMENT

         If the case is settled, counsel shall so inform the Court within two court-days of settlement by

 submitting an appropriate notice of settlement, stipulation for dismissal, or motion for dismissal,

 pursuant to Federal Rule of Civil Procedure 41(a). See Local Rule 16.4. The parties shall attend all

 hearings and abide by all time requirements unless and until an order of dismissal is filed.

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         19. COMMUNICATION WITH CHAMBERS

         Rules   regarding   communication     with   Chambers       are   available   for   viewing   at

 http://www.flsd.uscourts.gov / content / judge-robin-l-rosenberg.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 21st day of November,

 2019.



                                                      _______________________________
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 Counsel of record                                    UNITED STATES DISTRICT JUDGE




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